Case 2:Ol-cv-02921-BBD-dkv Document 22 Filed 08/04/05 Page 1 of 3 Page|D 39

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lN THE UNITED sTATEs DISTRICT coURT 05 mg _u PH 3= \?
FOR THE wEsTERN I)ISTRICT 0F TENNESSEE

 

 

wEsTERN DIVISION THO%- *S¢t-.t §OUD

MILDRED JoNEs, ) k v ii q

Plaintifl`, §
vs. i CAsE No= 2=01-cv-02921-BBD-dkv
AMERICAN HoME PROI)UCTS g
CORPORATION, et al., )

Defendants. §

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Having considered Leila H. Watson’s Motion to Appear Pro Hac Vice, this Court finds
that it is due to be granted Accordingly, Attorney Leila H. Watson is hereby specially admitted
to appear as co»counsel for Plaintiff Mildred Jones in this case.

Done and ordered, adjudged and decreed, this _?L,/_ day of [d-¢( 8,,,,/&-' ,

2005.

 

 

ccc Counsel of Record

Th:'s document entered on the docket sheet In c£mpliance
with Huze 53 and/or 79(3) FHCP on fn -{»’\~>

 

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Charles O. McPherson

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

J ames J. McGovern

NELSON MULLINS RILEY & SCARBOROUGH, LLP
1330 Lady Street

3rd Floor

Columbia, SC 29201

Paul R. Leitner

LEITNER WILLIAMS DOOLEY NAPOLITAN PLLC
801 Broad Street

3rd Fl.

Chattanooga, TN 37402

Michael W. Hogue

NELSON MULLINS RILEY & SCARBOROUGH, LLP
1330 Lady Street

3rd Floor

Columbia, SC 29201

David E. Dukes

NELSON MULLINS RILEY & SCARBOROUGH, LLP
1330 Lady Street

3rd Floor

Columbia, SC 29201

Lee L. Coleman

HUGHES & COLEMAN
444 J ames Robertson Pkwy
Ste. 201

Nashville, TN 37219

Case 2:Ol-cv-O2921-BBD-dkv Document 22 Filed 08/04/05 Page 3 of 3 Page|D 41

Leila H. Watson

CORY WATSON CROWDER & DEGARIS
2131 Magnolia Ave

Birmingham, AL 35202

Stephen G. Morrison

NELSON MULLINS RILEY & SCARBOROUGH, LLP
1330 Lady Street

3rd Floor

Columbia, SC 29201

Honorable Bernice Donald
US DISTRICT COURT

